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          Exhibit 34
[Embedded Videos Submitted to Chambers]
6/16/2017                        BPCA turns off the cash spigot to non­profits, bus shuttles in question | BatteryPark.TV We Inform
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    BPCA turns off the cash spigot to non­profits, bus shuttles in question
    Posted on April 24, 2013 by Editor

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       BPCA to stop nonpro੔t spending




    April 18, 2013­ By Steven E. Greer

    In response to BatteryPark.TV oversight stories (see below) questioning the legality of awarding six­figure grants
    to non­profits unrelated to Battery Park City, the BPCA board debated on April 16th whether to continue those
    practices. The two largest block grants go to the Downtown Alliance bus shuttle (at $632,000 per year) and to Bob
    Townley’s Manhattan Youth community center in Tribeca (at $224,563 per year). However, only the free bus
    service was discussed as a concern.

    BPCA President Demitri Boutris announced, “The Chairman (Dennis Mehiel) ordered me to freeze all giving (to
    nonprofits presumably)”. It is unclear whether the Downtown Alliance bus funding and Manhattan Youth funding
    will also end. Mr. Boutris said, “There is a history of questioning those expenditures (to the Downtown Alliance)”.
    The board agreed to reassess the entire situation and update the Chairman at a future date.

    Board members Fernando Mateo and Martha Gallo suggested that the large corporations in BPC, such as
    American Express or Goldman Sachs, should contribute funding to the Business Improvement District (BID) in
    Battery Park City, since their employees benefit from the bus services. The corporations currently do not consider
    their companies to fall under the BID jurisdiction.

    In addition to having concerns over the bus service costs, board member Mateo, who does not live in or near
    Battery Park City, also has concerns about “Spending the city’s money” on the $30 Million proposed West Thames
    bridge. (It is the BPCA’s cash reserve, not the city’s) Given Mr. Mateo’s public record of pushing the BPCA to
    spend on donations to his pet charities and minority construction projects, it seems that Mr. Mateo views the


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    BPCA largess of funds as a piggy bank for the city rather than for reinvesting the funds into improving BPCA
    infrastructure or lowering lease (taxes).

    We asked the BPCA and Downtown Alliance to clarify the fate of the bus service and are awaiting a reply from the
    BPCA. The Downtown Alliance wrote, “As I suggested earlier, for the most detailed understanding surrounding
    the BPCA board conversation on this topic, it would be best to discuss with someone from BPCA. Thanks, Nicole”

    BPCA voluntarily pays $632,000 to Downtown Alliance for a seldom used bus service

    Bombshell: The BPCA gives $500K to Manhattan Youth

    Other BPCA handouts to outside entities

    Our first ride on the Downtown Connection bus


       Downtown Connection bus




    This entry was posted in Accomplishments, Battery Park City and BPCA. Bookmark the permalink.




    2 Responses to BPCA turns off the cash spigot to non­profits, bus shuttles in question

             Archimedes says:
             April 19, 2013 at 8:13 pm


             The connection bus is one of the best and most convenient services in lower Manhattan. I use it daily. Since they have GPS
             locators you can tell how many minutes before the next one will arrive and see it approaching on a map – Smartphone app. It
             is nearly always full with seniors, nannies with children, parents and children and students. It’s not the employees of
             American Express, Goldman Sachs, etc. that use the connection. Surely there are less useful items that BPCA can cut their
             support for. I think every BPCA board member should take a ride on the connection during the rush hours when students are
             abundant.



             Editor says:
             April 19, 2013 at 8:22 pm




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             BPCA’s board member Mateo has an agenda to pilfer away as much money as possible from Battery Park and redistribute to
             his cronies elsewhere in the city. He does not care whether $632,000 is being unwisely spent or not. He needs to be booted.




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